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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CHRISTINE LEVINSON et al.,

               Plaintiffs,

       v.                                            Civil Action No. 17-511 (TJK)

ISLAMIC REPUBLIC OF IRAN,

               Defendant.


                                             ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

ORDERED that judgment is entered in favor of Plaintiffs and against Defendant for

compensatory damages, in the following amounts: $47,500,000 to Robert Levinson for pain and

suffering; $14,000,000 to Christine Levinson for loss of solatium; and $6,500,000 each to Susan

Levinson Boothe, Stephanie Levinson Curry, Sarah Levinson Moriarty, Daniel Levinson, David

Levinson, Samantha Levinson and Douglas Levinson for loss of solatium, for a total award of

compensatory damages of $107,000,000. It is FURTHER ORDERED that in addition to the

above compensatory damages, each of the nine Plaintiffs are entitled to punitive damages in the

amount of $150,000,000, for a total of $1,350,000,000 in punitive damages. This is a final,

appealable order. The Clerk of the Court is directed to close the case.

       SO ORDERED.

                                                             /s/ Timothy J. Kelly
                                                             TIMOTHY J. KELLY
                                                             United States District Judge

Date: October 1, 2020
